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F°R THE wEsTERN DISTRICT oF TENNESSEE]SI"!B."! -3 PHIZ'

WESTERN DIVISION

 

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MARTIN MCCLAIN, individually,
and d/b/a MAC'S PLACE BAR &
GRILL,

Plaintiff,

v.
NO. 04-2072 Ml/V
CITY OF MILLINGTON, TENNESSEElr
a municipal corporation,

TULLY REED, JERRY LADD,

TROY WALLS and MICHAEL WEST,
individually, and in their
official capacities as police
officers for the

City of Millington, Tennessee,

Defendants.

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ORDER AFFIRMING THE MAGISTRATE JUDGE'S DECEMBER 21, 2004, ORDER
DENYING PLAINTIFF'S MOTION TO COMPEL

 

Before the Court is Plaintiff’s appeal of a portion of the
Magistrate Judge‘s December 21, 2004, Order Denying Plaintiff's
Motion to Compel, filed December 27, 2004. Defendants responded
in opposition on January 6, 2005. In particular, Plaintiff
appeals the portion of the Magistrate Judge’s order denying
Plaintiff’s motion to Compel a response to interrogatory nos. ll
and 14.

Under the Federal Rules of Civil Procedure, this Court may

modify or set aside any portion of a magistrate judge's order on

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a nondispositive matter if it is clearly erroneous or contrary to
law. Fed. R. Civ. P. 72(a). Upon review of the parties’
submissions as well as the Magistrate Judge's December 21, 2004,
order, the Court concludes that the Magistrate Judge's rulings
are not clearly erroneous or contrary to law. Accordingly, the

Court AFFIRMS the Magistrate Judge’s December 21, 2004, order.

so 0RDERED this g day @f May, 2005.

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JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

        

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UNITED

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Honorable J on McCalla
US DISTRICT COURT

